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 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   LENELE MARIA NUNEZ
 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:15-CR-00046 LJO-SKO

11           Plaintiff,                                        STIPULATION TO TERMINATE
                                                               PRETRIAL SUPERVISION
12                  v.                                         AND ORDER THEREON

13   LENELE MARIA NUNEZ,

14          Defendant.

15
16          Defendant, LENELE MARIA NUNEZ, by and through her counsel, John F. Garland and
17
     the United States of America, by and through its counsel, Phillip A. Talbert, United States
18
     Attorney and Kathleen A. Servatius, Assistant United States Attorney, hereby stipulate that the
19
     defendant be terminated from Pretrial Supervision and the defendant's pretrial release is subject
20
21   to the following conditions:

22   (1)    The defendant shall not violate federal, state or local laws while on release.
23
     (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42
24
     U.S.C. § 14135a.
25
     (3)    The defendant must advise the court in writing before making any change of residence or
26
27   telephone number.

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     ___________________________________________________________________________________________________________________
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     (4)       The defendant must appear in court as required and, if convicted, must surrender as
 1
     directed to serve a sentence that the court may impose.
 2
 3                     Pretrial Services Officer Elizabeth Gutierrez agrees to the termination of Pretrial

 4   Supervision and the above modification of pretrial release conditions.
 5
 6   Dated: September 5, 2017                                      /s/ John F. Garland
                                                                      John F. Garland
 7                                                                 Attorney for Defendant
                                                                 LENELE MARIA NUNEZ
 8
 9
     Dated: September 5, 2017                                           Phillip A. Talbert
10                                                                  United States Attorney
11
                                                                  /s/ Kathleen A. Servatius
12                                                             By: Kathleen A. Servatius
                                                                    Assistant U.S. Attorney
13
14
                                                  ORDER
15
              GOOD CAUSE APPEARING, based on the stipulation of the parties,
16
     IT IS HEREBY ORDERED that Pretrial Supervision of defendant LENELE MARIA NUNEZ is
17
18   terminated and the defendant is subject to the pretrial release conditions set for above,

19
20   IT IS SO ORDERED.
21
22         Dated:    September 6, 2017                                   /s/
                                                                UNITED STATES MAGISTRATE JUDGE
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